                   In the
              Court of Appeals
      Second Appellate District of Texas
               at Fort Worth
            ___________________________
                 No. 02-23-00441-CV
            ___________________________

JAMES DONALD TATE AND MICHAEL CUFFIA, Appellants

                            V.

                REX HANSEN, Appellee



         On Appeal from the 141st District Court
                 Tarrant County, Texas
             Trial Court No. 141-332119-22


       Before Sudderth, C.J.; Womack and Walker, JJ.
         Memorandum Opinion by Justice Walker
                           MEMORANDUM OPINION

       In this business dispute, Appellants James Donald Tate and Michael Cuffia

sued RPP Holdings, LLC (RPP) and Appellee Rex Hansen for money they claimed

was owed them after RPP’s assets were sold to another company. Hansen filed a

special appearance, arguing that the trial court did not have personal jurisdiction over

him.   The trial court granted the special appearance, and Appellants filed this

interlocutory appeal to challenge that ruling. See Tex. Civ. Prac. Rem. Code Ann.

§ 51.014(a)(7) (permitting interlocutory appeal from trial court order granting

defendant’s special appearance). We will affirm.

                                I. BACKGROUND

       RPP is a Michigan company in the foam-manufacturing industry. Hansen is

RPPs managing “Administrative Member” who has been with RPP since its founding

in 2011. He has never resided in Texas. Tate and Cuffia are Texas residents and

former members of RPP. Tate joined RPP as a consultant in 2012 and eventually

became RPP’s president. Cuffia joined RPP as its director of operations in 2015.

During their tenures at RPP, Tate and Cuffia commuted from their homes in Texas to

the company’s headquarters in Michigan.

       In 2018, Pregis Performance Products, LLC (Pregis) purchased RPP’s assets,

and Tate and Cuffia started working for Pregis. After the sale, a dispute arose over

the amounts that were to be paid from the proceeds of the sale to Tate and Cuffia.

Tate and Cuffia contended that Hansen had diluted RPP’s equity to reduce the

                                           2
amount owed to them. They also claimed that Hansen (in his individual capacity) and

RPP had agreed to pay them large sums from RPP’s outstanding receivables after the

sale closed. RPP and Hansen contended that Tate and Cuffia had received secret

“super bonuses” from Pregis for driving down the sales price of RPPs assets.

      The parties sued each other in various lawsuits, both in Texas and Michigan

courts. In the instant suit, Tate and Cuffia sued RPP and Hansen for breach of

contract, breach of fiduciary duty, and unjust enrichment.

      In their original petition, Tate and Cuffia pleaded that Hansen was an Oregon

resident and generally that the trial court “ha[d] personal jurisdiction over the parties.”

Hansen filed a special appearance, arguing, among other things, that the few contacts

he had had with Texas had all occurred within his duties as an employee of RPP or on

unrelated matters. He declared that

   • He was a Nebraska resident;

   • He did not reside in Texas and had never owned personal or real
     property here;

   • He was not a party to any of the prior-filed lawsuits involving RPP or
     any of the sued-upon contracts;

   • In 2010 he purchased a judgment against a Texas resident from a
     bankruptcy trustee, instituted post-judgment collection efforts, and
     travelled to Texas in 2015 to attend one hearing on the matter;

   • He visited Texas in 2015 as the corporate representative for another
     company involved in a lawsuit in an unrelated matter;




                                            3
   • He visited Tate and Cuffia in Texas as part of his responsibilities as
     RPP’s manager; and

   • He has not, in his individual capacity, contracted with any Texas
     residents, committed a tort in Texas, or recruited Texas residents for
     employment.

      Tate and Cuffia then filed their first amended petition. On the issue of the trial

court’s personal jurisdiction over Hansen, they added allegations that Hansen had

purposefully availed himself of Texas’s general and specific jurisdiction based on the

following contacts:

       1. Hansen “has had frequent business contacts with Texas and has made
numerous trips to Texas . . . to discuss RPP business.” He met with Tate and Cuffia
in Texas “to discuss their employment with RPP and on one occasion to talk Tate out
of resigning from RPP.” They met at various Texas hotels and restaurants to “discuss
the business of RPP.”

        2. As the day-to-day manager and “controlling owner” of RPP, Hansen made
recent trips to Texas in connection with an unrelated lawsuit. During these trips, he
testified at trial and stayed overnight in Dallas.

       3. Hansen is “party to a contract with Tate and Cuffia which obligated him and
RPP to pay monies to Tate and Cuffia, in Texas.” As part of the sale of RPP, “Tate
and Cuffia demanded of Hansen that they be paid separately and personally with
receivables of RPP, separate and apart from the sale . . . . Thereafter . . . a separate
agreement was struck between Tate and Cuffia on the one hand and Hansen and RPP
on the other hand whereby Tate and Cuffia were to be paid [certain amounts] from
the accounts receivable to be paid to RPP after the closing.”

      Tate and Cuffia also filed their own declarations and a copy of Hansen’s

deposition that had been taken for special-appearance purposes. Tate declared that he

had frequently spoken on the phone from Texas with Hansen and that he had met

with Hansen in Texas “many” times. According to Tate, these “were purposeful


                                           4
meetings set up by Rex Hansen to further the business of RPP.” Tate further

declared that he had been in Texas when Hansen agreed via email and phone calls to

pay Tate and Cuffia money from RPP’s outstanding receivables once the asset sale

closed.

      Cuffia also declared that Hansen had made “many trips” to Texas to meet with

him and Tate “concerning the business of RPP.” In Cuffia’s view, these “were not

fortuitous trips to Texas, but purposeful ones to meet and discuss RPP business.”

      At his deposition, Hansen testified that RPP had sued Tate and Cuffia in Texas

in a separate lawsuit and that he had been one of three RPP representatives

responsible for filing that suit in 2018. Within that lawsuit, Hansen had travelled to

Texas to attend a hearing. He testified that RPP had gone to trial on another

unrelated matter in Dallas in August 2022. In that case, Hansen attended a deposition

and a three-day trial as RPP’s “authorized representative.”

      Hansen testified that he had met with Tate and Cuffia in Texas “once or twice”

and that he had attended all of these meetings as a representative of RPP for business

purposes.1 As to the asset sale, Hansen said that RPP had received all consideration

from the sale and that the proceeds had been used to pay creditors. The accounts

receivable that were collected after closing were used to pay RPP’s bills. Hansen said



      1
       When asked about the non-RPP-related Texas lawsuits that he had been
involved in, Hansen provided substantially the same facts as from his declaration.


                                           5
that all of his dealings with Tate and Cuffia had occurred within the context of RPP’s

business.

      A hearing was held on the special appearance at which no new evidence was

proffered. At the hearing, Tate and Cuffia’s attorney explained his belief that personal

jurisdiction over Hansen was based largely on the alleged personal guaranty, which he

said existed in emails sent to his clients from Hansen. The trial court then pressed for

evidence of these emails:

      The Court: And so where is the guarant[y]?

      [Counsel]: In their emails of their oral - -

      The Court: Show me which ones. Which email is the guarant[y] in?

      [Counsel]: Well, they’re not - - they’re not a part of the record, I don’t
      think, but they’re alleged. I mean, it - - there was an oral agreement that
      was confirmed by email. Those emails make up the agreement that - -

      The Court: I just want to see the oral agreement where he guaranteed
      that the payments would be made personally.

      [Counsel]: Well, I don’t - - they’re probably somewhere in the
      documents that are attached in the lawsuit. I don’t have those in front
      of me.

      The Court: Because that is the relevant context he would have had with
      the state to make him - - make us have jurisdiction over him, is making
      the guarant[y], whether by email or not, but he made the guarant[y] and
      sent it to Texas, and so I would say that is the minimum contact. I just
      need to see the guarant[y] in writing.

      [Counsel]: Okay. Well, that’s what he did - -

      The Court: Okay. Where is the guarant[y] in writing?


                                            6
      Tate and Cuffia’s attorney was not able to proffer the emails at the hearing and,

instead, explained his belief that they had been attached to the amended petition.2

      After the hearing, the trial court granted the special appearance and dismissed

Hansen from the suit. Tate and Cuffia then filed a letter with the trial court in which

they conceded that the personal-guaranty emails had not been in evidence prior to the

hearing but argued that it was sufficient that they had pleaded the guaranty’s existence.

Based on this additional information, they asked the trial court to reconsider its ruling.

The trial court then issued its Order Reconsidering Order Granting Defendant Rex

Hansen’s Special Appearance in which it ordered that the special appearance

“remain[ed] GRANTED.”           No findings of fact and conclusions of law were

requested or filed.

                       II. STANDARD OF REVIEW

      We review de novo a trial court’s determination of a special appearance. Kelly v.

Gen. Interior Const., Inc., 301 S.W.3d 653, 658 (Tex. 2010). However, the trial court

must often resolve fact questions before deciding the jurisdiction issue. BMC Software

Belg., N.V. v. Marchand, 83 S.W.3d 789, 794 (Tex. 2002). In doing so, the trial court

has the sole discretion to determine the credibility of the witnesses and to resolve

conflicts in the evidence. Xenos Yuen v. Fisher, 227 S.W.3d 193, 203–04 (Tex. App.—

Houston [1st Dist.] 2007, no pet.). Thus, when, as here, the trial court does not issue

      2
        There are no exhibits or emails attached to either the original petition or the
first amended petition.


                                            7
findings of fact and conclusions of law with its special appearance ruling, we must

imply all facts necessary to support the judgment and supported by the evidence. Id.
                               III. RELEVANT LAW

                             A. PERSONAL JURISDICTION

      Texas courts have personal jurisdiction over a nonresident defendant if (1) the

Texas long-arm statute authorizes the exercise of jurisdiction, and (2) the exercise of

jurisdiction does not violate federal and state due process guarantees.             Kelly,

301 S.W.3d at 657. Texas’s long-arm statute allows the trial court’s jurisdiction to

reach as far as the federal constitutional requirements will allow. Id. “Personal

jurisdiction is consistent with due process when the nonresident defendant has

established minimum contacts with the forum state, and the exercise of jurisdiction

comports with the traditional notions of fair play and substantial justice.” Id. (internal

quotations omitted). “A defendant establishes minimum contacts with a state when it

purposefully avails itself of the privilege of conducting activities within the forum

state, thus invoking the benefits and protections of the law.” Id. at 657–58.

                       B. SPECIAL-APPEARANCE PROCEDURE

      The plaintiff and defendant bear shifting burdens in a challenge to personal

jurisdiction. Id. at 658. The Texas Supreme Court has explained this burden-shifting

process as follows:

      We have consistently held that the plaintiff bears the initial burden to
      plead sufficient allegations to bring the nonresident defendant within the
      reach of Texas’s long-arm statute. Once the plaintiff has pleaded

                                            8
       sufficient jurisdictional allegations, the defendant filing a special
       appearance bears the burden to negate all bases of personal jurisdiction
       alleged by the plaintiff. Because the plaintiff defines the scope and
       nature of the lawsuit, the defendant’s corresponding burden to negate
       jurisdiction is tied to the allegations in the plaintiff’s pleading.

       If the plaintiff fails to plead facts bringing the defendant within reach of
       the long-arm statute . . . , the defendant need only prove that it does not
       live in Texas to negate jurisdiction. When the pleading is wholly devoid
       of jurisdictional facts, the plaintiff should amend the pleading to include
       the necessary factual allegations, see Tex. R. Civ. P. 63, thereby allowing
       jurisdiction to be decided based on evidence rather than allegations, as it
       should be.

       The defendant can negate jurisdiction on either a factual or legal basis.
       Factually, the defendant can present evidence that it has no contacts with
       Texas, effectively disproving the plaintiff’s allegations. The plaintiff can
       then respond with its own evidence that affirms its allegations, and it
       risks dismissal of its lawsuit if it cannot present the trial court with
       evidence establishing personal jurisdiction. Legally, the defendant can
       show that even if the plaintiff’s alleged facts are true, the evidence is
       legally insufficient to establish jurisdiction; the defendant’s contacts with
       Texas fall short of purposeful availment; for specific jurisdiction, that the
       claims do not arise from the contacts; or that traditional notions of fair
       play and substantial justice are offended by the exercise of jurisdiction.

Id. at 658–59 (internal citations omitted).

                                  IV. DISCUSSION

       In two issues argued jointly, Tate and Cuffia contend that the trial court erred

by (1) granting Hansen’s special appearance and (2) denying their request to

reconsider its order granting the special appearance. They argue that the trial court

erred because the pleadings and evidence showed that it had specific (rather than

general) personal jurisdiction over Hansen. They point to the following facts as

raising sufficient minimum contacts between Hansen and Texas:                 (1) Hansen

                                              9
personally guaranteed that he would pay each of them (in Texas) after the Pregis sale

closed; (2) this agreement was made via emails and phone calls between the parties

while Tate and Cuffia were in Texas and using their Texas-based email addresses;

(3) Hansen knew that they were in Texas; and (4) Hansen failed to pay them the

money. In other words, Tate and Cuffia argue that the trial court’s specific personal

jurisdiction over Hansen was established solely through the alleged personal guaranty

and its attendant negotiations.3

      Personal jurisdiction over a nonresident defendant exists if his minimum

contacts give rise to either general or specific jurisdiction. BMC Software, 83 S.W.3d

at 795.   Specific jurisdiction exists when the defendant’s purposeful contacts are

“substantially connected to the operative facts of the litigation or form the basis of

the cause of action.” Old Republic Nat’l Title Co. v. Bell, 549 S.W.3d 550, 559–60 (Tex.

2018). In analyzing for specific jurisdiction, the focus is on “the relationship between

the forum, the defendant, and the litigation.” Id. at 559.

      3
        To the extent that Tate and Cuffia argue that Hansen’s travels to Texas for
RPP business and unrelated lawsuits provided sufficient minimum contacts—an
argument that is not apparent from their appellants’ brief—we overrule this argument.
It is well-settled that a nonresident corporate officer or employee is protected from a
trial court’s exercise of personal jurisdiction when all of his contacts with Texas were
made on behalf of the employer. Nichols v. Tseng Hsiang Lin, 282 S.W.3d 743, 750
(Tex. App.—Dallas 2009, no pet.); see Booth v. Kontomitras, 485 S.W.3d 461, 482 (Tex.
App.—Beaumont 2016, no pet.) (“As a general rule, a court may not assert personal
jurisdiction over an individual based on the individual’s relation to a corporation
unless the corporation is the individual’s alter ego.”). It is undisputed that Hansen
took these trips to Texas as a representative of RPP, and Tate and Cuffia have not
pleaded or argued any piercing-the-corporate-veil or alter-ego theories.


                                           10
      The evidence related to the personal guaranty was conflicting. Tate and Cuffia

declared that they had negotiated from Texas with Hansen via email and phone to

strike an agreement under which Hansen personally guaranteed them payment from

RPP’s outstanding receivables and that these payments would be made to them in

Texas. Hansen, on the other hand, declared that he had never contracted with any

Texas residents in his personal capacity and that all of his dealings with Tate and

Cuffia had occurred in his capacity as RPP’s representative. Further, Tate and Cuffia

conceded that the record did not contain documentary evidence of the personal

guaranty, and we see no such evidence upon our own search of the record.

      The question of specific jurisdiction over Hansen rested solely on whether he

had, in a personal capacity, negotiated and entered into the guaranty. Because the trial

court granted the special appearance, we imply that it found that Hansen had not

done so. Xenos Yuen, 227 S.W.3d at 203–04. In light of the conflicting record, and

because the trial court had full discretion to determine the evidence’s credibility and to

resolve those conflicts, see id., we conclude that the evidence supported this implied

finding. Accordingly, we hold that Hansen did not have sufficient minimum contacts

with Texas to subject him to the exercise of specific jurisdiction and that the trial

court did not err by granting the special appearance or by denying Tate and Cuffia’s

reconsideration request.4 We overrule Tate and Cuffia’s issues.


      4
       Even assuming arguendo that Hansen had personally negotiated and entered
into the guaranty to pay Tate and Cuffia in Texas, such contacts alone would likely

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                                  V. CONCLUSION

       Having overruled both of Appellants’ issues, we affirm the trial court’s granting

of the special appearance.

                                                        /s/ Brian Walker

                                                        Brian Walker
                                                        Justice

Delivered: August 22, 2024




not have been enough to assert specific jurisdiction over him. See McLean v. Paradigm
SRP LLC, No. 04-22-00449-CV, 2023 WL 7133438, at *5 (Tex. App.—San Antonio
Oct. 31, 2023, no pet.) (mem. op.) (“Merely contracting with a resident of the forum
state or engaging in communications during performance of the contract generally is
insufficient to subject a nonresident to the forum’s jurisdiction.”); see also Old Republic,
549 S.W.3d at 562 (“Generally, money sent to the forum state is not determinative in
establishing that a defendant purposefully availed itself of Texas’s jurisdiction.”).


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